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                        I THE UITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COECTICUT
__________________________________________
                                                :
POPTECH, L.P., individually, and on behalf of a :
class of others similarly situated,             :
                                                :
                Plaintiff,                      : Civil Action no. 3:10-cv-967 (MRK)
                                                :
                v.                              :
                                                :
STEWARDSHIP CREDIT ARBITRAGE FUND, :
LLC; STEWARDSHIP INVESTMENT                     :
ADVISORS, LLC; ACORN CAPITAL GROUP, :
LLC; MARLON QUAN; GUSTAV E. ESCHER, :
III; PAUL SEIDENWAR; and ROBERT BUCCI, :
                                                :
                Defendants.                     : April 25, 2011
__________________________________________:

    _______________________________________________________________________

                  PLAITIFFS’ MOTIO FOR LEAVE TO FILE
                SECOD AMEDED CLASS ACTIO COMPLAIT
    _______________________________________________________________________

       Pursuant to this Court’s Orders of April 11, 2011 and April 21, 2011, Lead Plaintiff,

Poptech, L.P. (“Poptech”), together with Plaintiffs and proposed Class Representatives Terence

Isakov, M.D. and William A. Meyer (with Poptech, “Plaintiffs”), on their own behalf and on

behalf of the proposed class (“Class”) they seek to represent, respectfully move this Court,

pursuant to Federal Rules of Civil Procedure 15(a), for leave to file their Second Amended Class

Action Complaint, which is attached as Exhibit “A” to the accompany Memorandum of Law in

support. Plaintiff further requests that, upon the Court’s granting of its Motion, the Second

Amended Complaint be deemed filed and served as of the date of the Court’s Order.



ORAL ARGUMET REQUESTED
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       For the reasons more fully explained in the Memorandum of Law, the requested

amendments reflect factual material submitted by the parties in an action recently commenced by

the U.S. Securities & Exchange Commission in the United States District Court for the District

of Minnesota against some of the defendants named here. There has been no undue delay on the

part of Plaintiffs in seeking this amendment and Defendants will suffer no undue prejudice if

leave to amend is permitted. Accordingly, Plaintiff respectfully requests that its Motion be

granted.

                                             Respectfully submitted,

                                              /s/ Patrick A. Klingman
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                           Attorneys for Plaintiffs and the Proposed Class




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 25, 2011, a copy of the foregoing Motion, together with the
supporting Memorandum of Law and referenced exhibits, was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to
all parties by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.

                                              /s/ Patrick A. Klingman
                                              Patrick A. Klingman (ct17813)




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